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                            United States District Court
                                  EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION

  TERRY BEVILL, §
                                                   §
                    Plaintiff, § Civil Action No. 4:19-cv-00406
  v.      §      Judge                   Mazzant
                                                   §
  CITY OF QUITMAN, TEXAS et al. §
                                                   §
                   Defendants. §

                                        VERDICT FORM

 We, the Jury, find as follows:

               CAUSE OF ACTION ONE - FIRST AMENDMENT RETALIATORY
                         EMPLOYMENT TERMINATION
                                     Defendant David Dobbs

 Question No. 1

 Do you find that Plaintiff Terry Bevill has proven by a preponderance of the evidence that his
 speech, which the Court has already determined is protected under the First Amendment,
 motivated Defendant David Dobbs s decision to terminate him from the Quitman Police
 Department?

 Answer Yes or “No :




        After answering this question, please proceed to Question No. 2.

  CAUSE OF ACTION THREE - CONSPIRACY TO COMMIT FIRST AMENDMENT
                    RETALIATORY TERMINATION
 Question No. 2

 Do you find that Plaintiff Terry Bevill has proven by a preponderance of the evidence th t two or
 more of any of the following defendants participated in a conspiracy to terminate Plaintiff Terry
 Bevill in retaliation for exercising his First Amendment ffee-speech right?
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 Answer Yes or “No for each of the following defendants:

        Tom Castloo:

        James Wheeler:

        Jeffrey Fletcher:

        David Dobbs:

        City of Quitman:

        After answering this question, please roceed to Question No. 3.

                   CAUSE OF ACTION TWO - MUNICIPAL LIABILITY
                                    Defendant City of Quitman

 Question No. 3

 Do you find that Plaintiff Terry Bevill has proven by a preponderance of the evidence that the City
 of Quitman maintained a policy, custom, or practice that was the moving force leading to the
 decision to terminate Pl intiff Terry Bevill in retaliation for exercising his First Amendment free-
 speech right?

 Answer “Yes or “No”:




        After answering this question, please proceed to Question No. 4.

              CAUSE OF ACTION FOUR - UNCONSTITUTIONAL POLICY
                                     Defendant Wood County

 Question No. 4

 Do you find that Plaintiff Terry Bevill has proven by a preponderance of the evidence that Wood
 County maintained a policy, custom, or practice of retaliation, intimidation, or oppression, in
 contravention of the First Amendment that was the moving force leading to the decision to
 terminate Plaintiff Terry Bevill in retaliation for exercising his First Amendment free-speech right?

 Answer “Yes or “No :




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        Answer Question No. 5 only if you answered Yes to Question No. 1, or Question
        No. 2 (for two or more defendants), or Question No. 3, or Question No. 4. If you
        answered “No to all those questions, please proceed to the signature line.

                                COMPENSATORY DAMAGES

 Question No. 5

 What sum of money, if any, if paid now in cash, would fairly and reasonably compensate Plaintiff
 Terry Bevill for the damages, if any, that resulted from Plaintiff Terry Bevill s termination from
 the City of Quitman Police Department?

 Answer in dollars and cents for the followin items and none other:

 a. Impairment of reputation in the past




 b. Impairment of reputation in the future

 $ /                Q
 c. Personal humiliation in the past

 $              /

 d. Personal humiliation in the future




 e. Mental anguish and suf ering in the past

  A
  $    7 O&l}

 f. Mental anguish and suffering in the future




        After answering this question, please proceed to the Punitive Damages Section below.

                                     PUNITIVE DAMAGES
        Answer Question No. 6 only if you answered “Yes” to any of the following defendants
        in Question No. 2. Otherwise, please proceed to the signature line.




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 Question No. 6

 Do you find by a preponderance of the evidence that the damages caused by any of the following
 defendants against Plaintiff Terry Bevill resulted from malice or reckless indifference?

 Answer Yes or “No for each of the following defendants:

          Tom Castloo:

          James Wheeler:

          Jeffrey Fletcher:          IM
          David Dobbs:               U
          If you answered Yes to Question No. 6, please answer Question No. 7. Otherwise,
           lease proceed to the signature line.

 Question No. 7

 What sum of money, if any, if paid now in cash, should be assessed against the defendants listed
 below and be awarded to Plaintiff Terry Bevill as punitive damages, if any, for the conduct found
 in response to Question No. 6?

 Answer in dollars and cents, if any, for each defendant for whom you answered “Yes” in Question
 No. 6:

          Tom Castloo:

          James Wheeler:        $
          Jeffrey Fletcher:     $
          D vid Dobbs:          $ io&O
          After answering this question, please proceed to the signature line.




 Date:                                         Presid




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